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            IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

 THE STATE OF OREGON, THE STATE OF
 ARIZONA, THE STATE OF COLORADO,
 THE STATE OF CONNECTICUT, THE                 Case No. 1:25-cv-00077-GSK-TMR-JAR
 STATE OF DELAWARE, THE STATE OF
 ILLINOIS, THE STATE OF MAINE, THE
 STATE OF MINNESOTA, THE STATE OF
 NEVADA, THE STATE OF NEW MEXICO,
 THE STATE OF NEW YORK, and THE
 STATE OF VERMONT,

                  Plaintiffs,

 v.

 DONALD J. TRUMP, in his capacity as
 President of the United States;
 DEPARTMENT OF HOMELAND
 SECURITY; KRISTI NOEM, in her official
 capacity as Secretary of the Department of
 Homeland Security; UNITED STATES
 CUSTOMS AND BORDER PROTECTION;
 PETE R. FLORES, in his official capacity as
 Acting Commissioner for U.S. Customs and
 Border Protection; and THE UNITED
 STATES,

                  Defendants.


              JOINT BRIEF OF WASHINGTON STATE AMICI CURIAE
      IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                         AND SUMMARY JUDGMENT




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                               INTERESTS OF AMICI CURIAE
       Amici curiae are a coalition of state and local officials, state legislators, labor unions, and

business interests: Governor Bob Ferguson; Treasurer Mike Pellicciotti; State Senate Majority

Leader Jamie Pedersen, Deputy Majority Leader Manka Dhingra, and Senators Noel Frame,

Marko Liias, June Robinson, Jesse Salomon, Derek Stanford, Javier Valdez; State Representatives

Joe Fitzgibbon and Chris Stearns; Seattle Mayor Bruce Harrell; Spokane Mayor Lisa Jo Brown;

the Washington Economic Development Association, a trade association focused on economic

development in Washington state whose members include economic development organizations,

cities, counties, ports, tribes, businesses, education and community-based organizations that

prioritize economic development; the International Association of Machinists and Aerospace

Workers District 751; Iron Workers Local Union 86; Sheet Metal, Air, Rail & Transportation

(SMART) Northwest Regional Council Local 66; Society of Professional Engineering Employees

in Aerospace (SPEEA), IFPTE Local 2001; Teamsters Local 117; the Greater Everett Chamber of

Commerce; Susan Yirku, Executive Director, Pacific County Economic Development Council;

Man Wang, Executive Director, Washington State China Relations Council; and North Cascades

Builders Supply (collectively, the “Washington State Amici”). The Washington State Amici

represent a wide variety of public and private interests within the State of Washington that will be

harmed if President Trump is not prohibited from imposing the unlawful tariffs at issue in this case.

       As a leader in global and national trade, Washington bears an inordinate share of the costs

associated with President Trump’s tariff regime. These costs directly impact Governor Ferguson,

whose ability to respond to the State’s emergencies and enact his policy goals and the prerogatives

of the State’s Legislature are frustrated by the economic impact of President Trump’s tariffs.

Likewise, the harmful impacts of the Trump Administration’s tariffs threaten Treasurer

Pellicciotti’s ability to efficiently manage the public fisc by negatively impacting Washington’s

revenues, its credit rating, the national and international financial markets with which Washington



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is constantly engaged, and other economic factors. The constraints on trade in Washington

imposed by the tariffs in turn increase economic pressure on key state industries, lead to job losses

and wage cuts, disrupt supply chains, and reduce market competition. All of these consequences

directly harm the Washington State Amici.

        The Washington State Amici submit this brief to emphasize the irreparable harm caused

across a variety of sectors in Washington state by the President’s unlawful, arbitrary, and ever-

changing tariff policy, and in support of Plaintiffs’ motion for a preliminary injunction and

summary judgment.

                                         INTRODUCTION
        President Trump initiated an unprecedented tariff regime by relying on the International

Economic Emergency Powers Act (“IEEPA”) and a purported national emergency arising from

persistent trade deficits. No President has previously relied on IEEPA to impose tariffs in the nearly

half a century since its enactment, and for good reason. The President has no authority to arbitrarily

impose tariffs like those at issue here, and the text and history of IEEPA confirm that the President

cannot impose such tariffs under that law. The United States Constitution vests the authority to

impose tariffs in Congress. See U.S. CONST. art. I, § 8, cl. 1. While Congress has enacted numerous

statutes delegating tariff authority to the President that expressly authorize imposition of tariffs, it

has also placed limitations and conditions on that delegated authority, including following required

process and notice. Rather than comply with the process and notice requirements set forth in those

statutes, President Trump issued over a dozen executive orders invoking IEEPA as their sole legal

basis, claiming that IEEPA grants him unilateral authority to impose unprecedented tariffs. This is

incorrect, for all the reasons explained by the Plaintiffs in this case.

        The uncertainty and upheaval caused by the President’s unilateral and arbitrary misuse of

executive power threatens immediate and existential harm to economic stability and to numerous

industries, workers, consumers, and commerce within the State of Washington. The Washington

State Amici urge the Court to grant summary judgment for Plaintiffs and preliminarily and


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permanently enjoin enforcement of the President’s unlawful tariffs, set aside any agency action

implementing the tariffs, and declare the tariffs unlawful.

                                      LAW & ARGUMENT

I.     Unprecedented Tariffs Harm the Governor of Washington, the State Economy,
       Major Industries, Workers, and Consumers
       The impacts of President Trump’s tariffs in recent weeks have already been felt by

countries, businesses, and individuals around the globe. In particular, the economic impact of

President Trump’s April 2, 2025, announcement of the Worldwide Tariff Order and reciprocal

tariffs was historic and unprecedented. In the two days following his announcement, the U.S. stock

market lost a record $6.6 trillion, the largest two-day loss in its history. These impacts are

disproportionately felt within Washington state, which is one of the most trade-dependent states

in the nation. If allowed to remain in effect, the President’s tariffs will continue to wreak havoc on

Washington-based interests by disrupting established supply chains, forcing businesses and

consumers to pay more for goods, equipment, and services, and interfering with the Governor’s

ability to shape and implement a state budget and pursue state policy priorities amid the significant

uncertainty, chaos, and adverse economic conditions caused by the tariffs.

       Washington is the ninth-largest state exporter of goods in the country, and its economy

stands to suffer unique and disproportionate harm from President Trump’s reckless and

unprecedented tariffs. Washington businesses are experiencing severe disruptions, including

halting plans to hire or expand due to increased uncertainty, the loss of existing and new market

opportunities for export goods, and higher prices for necessary inputs that depress demand and

threaten revenues. Agriculture is one such industry that will be hit particularly hard by the

President’s tariff regime. Washington is the top United States producer of apples, blueberries, hops,

pears, spearmint oil, and sweet cherries—all of which risk losing vital export markets due to

retaliatory tariffs from key trading partners like Canada and Mexico. As Washington’s largest and

fourth-largest agricultural export markets, respectively, any retaliatory tariffs imposed from



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Canada and Mexico could have devastating short- and long-term impacts on Washington’s food

and agriculture exporters due to trade disruptions and loss of hard-earned market share.

        In 2024 alone, Washington exported $57.8 billion of goods to the world, accounting for

7.2 percent of the state’s gross domestic product in 2024. As of 2022, Washington goods exports

supported an estimated 160,000 jobs across the state, almost 18 percent above the national average.

The impact of tariffs imposed during the first Trump Administration foreshadows the harmful

impact of the President’s current tariff regime. In 2018, following the Trump Administration’s

imposition of tariffs on steel and aluminum imports from major trading partners, Mexico imposed

retaliatory tariffs on a range of agricultural goods, including a 20 percent tariff on apples and

potatoes. While those tariffs were in place, Washington apple exports fell by more than 29 percent,

while potato exports to Mexico dropped by 21 percent.

        China, Canada, and Mexico, three countries specifically targeted by President Trump’s

current tariff regime, are three of Washington’s top four trading partners. In 2024, the state

exported $12 billion in goods to China, the state’s largest market, representing 21 percent of

Washington’s total goods exports. In the same year, Washington exported $7.9 billion in goods to

Canada and $4.3 billion to Mexico, representing 19 and 10 percent of Washington’s total goods

exports for the year, respectively. In 2023, Washington imported $19.9 billion in goods from

Canada, including crucial manufacturing inputs like oil, gas, lumber, and electrical power.

        The ripple effects of the tariffs will likely extend far beyond direct manufacturing costs.

Higher prices for raw materials and components would force Washington state manufacturers to

either absorb the costs, potentially reducing profitability and investment, or pass them on to

consumers, which could reduce demand for their products. Aside from the direct impact of higher

input costs, the uncertainty surrounding the duration of the tariffs is likely to cause significant drag

on Washington’s manufacturing sector, with local companies struggling to make long-term

production and supply chain decisions that would ultimately reduce investment in manufacturing

capacity. Retaliatory tariffs from other countries are particularly burdensome to smaller


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manufacturers that operate on tighter margins and have less flexibility to absorb or pass on

increased costs. Of the over 12,000 companies that export goods from Washington, nine out of ten

are small and medium-sized businesses.

       Additionally, Canada, Mexico, and China together account for nearly half of Washington’s

imports, totaling to $30 billion in 2024. Due to the nearly universal duty-free treatment under the

U.S.-Mexico-Canada Agreement, Washington businesses paid just $16 million in tariffs on $19

billion in imports from Mexico and Canada in 2024—an effective tariff rate of just 0.08 percent.

By contrast, Washington companies paid $1.3 billion in tariffs on imports from China—more than

any other country—because tariffs averaged 11.9 percent that year. The tariffs now imposed on

Canada in particular threaten to destabilize Washington’s agricultural trade. In 2023, Washington

imported $2 billion in agricultural products from Canada. Many of these products are used as

ingredients in Washington-made goods and are integral to the state’s food-processing economy.

The livestock industries of Canada and Washington are also closely interconnected, with a high

volume of Canadian cattle processed in Washington each year. Increased import costs due to the

President’s tariffs or any retaliatory tariffs would increase prices on the resulting Washington-

made products, impacting those sold domestically as well as exported. Exports would then

decrease, as trading partners would source from competitor countries that can offer lower prices.

       With such robust trade relationships at stake, the cost of President Trump’s new tariffs will

have major consequences for Washington businesses and consumers. Altogether, the new tariffs

could cost Washington companies an estimated $18 to $21 billion in extra tariffs, including $4.2

billion from the Tariff Orders purporting to address fentanyl. For context, Washington companies

paid just $2 billion in total tariffs on all imports from all countries in 2024, meaning that the new

tariffs could increase the state’s tariff burden by a factor of ten. While the precise amount of

estimated damage attributable to the tariffs may fluctuate as the President announces, imposes,

pauses, rescinds, or reimposes tariffs at his whim, the unlawful tariffs—and the uncertainty




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Washington businesses and consumers must contend with amid dramatic shifts in the President’s

tariff policy—inevitably cause tremendous harm across the state.

       Further, because of Washington’s outsized economic footprint, it is subject to outsized

impacts from President Trump’s recent tariffs. Washington state businesses and consumers engage

in considerable spending across the global market. The goods and services they transact in will

inevitably or have already become more expensive as a direct result of President Trump’s IEEPA

Tariff Orders, drastically impacting the state’s economy and budget. One local example of the

potential impact of tariffs is Schweitzer Engineering Laboratories (SEL), a company

headquartered in Pullman, Washington, that makes electricity metering, controls, and automation.

SEL imports over $100 million in components and products from Mexico and $3.2 million in

components from Canada each year. The only way for SEL to respond to tariffs is to increase

prices for its customers. This is just one example of how upstream costs or capital expenses for a

business may lead to increased inflation.

       Retaliatory tariffs imposed by other countries in response to President Trump’s tariffs are

also impacting Washington’s economy in unique and particularized ways. For example,

Washington is the country’s 17th largest agricultural exporting state, shipping over $3.5 billion in

domestic agricultural exports abroad in 2023. Washington products that are especially reliant on

global trade include wheat (up to 90 percent of the crop is exported each year), potatoes (up to 70

percent is exported in the form of French fries), and tree fruit (approximately 30 percent of apples

and 25 percent of cherries are exported each year). The existing and potential additional imposition

of high retaliatory tariffs by countries that import produce from Washington reduces the

competitiveness of Washington products in that country’s market—depressing export demand for

the product, reducing revenues for producers and exporters, and weakening or even eliminating

Washington companies’ access to those markets.

       President Trump’s tariffs also reduce revenue for Washington companies of all sizes due

to depressed domestic demand, loss of market competitiveness for exports, and reduced economic


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 activity from tourism. The projected financial impact of this trend is significantly deleterious to

 employment in the state as well as to the state budget itself, which depends on revenues that may

 dry up as the tariffs’ impacts damage Washington’s businesses and state economy.

        For these reasons, the tariffs impede Governor Ferguson’s policy goals and his ability to

 effectuate the State Legislature’s priorities. As the chief executive officer of the State of

 Washington, Governor Ferguson plays a critical role in setting statewide policy, enacting and

 implementing the state budget, responding to statewide emergencies, and enforcing state law. As

 such, adverse impacts on Washington’s economy caused by the unlawful tariffs are a paramount

 concern for the Governor and directly and adversely impact his ability to respond to emergencies

 and enact his policy goals and the prerogatives of the Washington Legislature. Because the tariffs

 stymie Washington’s economy and roil international financial markets, Treasurer Pellicotti’s

 ability to manage its state treasury would likewise be impeded.

        All told, President Trump’s tariffs will transform the economic situation in Washington

 state and directly impact Governor Ferguson’s ability to deliver on his policy goals for all

 Washingtonians. The irreparable harm created by the President Trump’s tariffs does not just

 impact the Plaintiffs. It has already been felt by Washington’s economy, and in turn, by its

 Governor, its Treasurer, lawmakers, local government leaders, labor unions and their members,

 and business interests and consumers across the state.

 II.    President Trump Lacks Legal Authority to Impose Tariffs Under IEEPA
        As the Plaintiff States in this case argue, the President lacks authority to impose and modify

 tariffs under the International Emergency Economic Powers Act of 1977 (“IEEPA”). Any of

 Plaintiffs’ arguments based on statutory interpretation, the Constitution’s delegation of powers to

 specific branches of government, or the constitutional limits on the President’s authority, is

 sufficient on its own to grant a preliminary injunction and summary judgment to Plaintiffs. Rather

 than reiterate Plaintiffs’ arguments, the Washington State Amici offer several brief points of

 emphasis.


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         Under our constitutional system of checks and balances, “[t]he President’s power, if any,

 to issue [an] order must stem either from an act of Congress or from the Constitution itself.”

 Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 585 (1952). The Constitution does not

 vest in the President authority to impose tariffs. Rather, it expressly vests that authority in Congress,

 not the President. U.S. CONST. art. I, § 8, cl. 1 (“The Congress shall have Power To lay and collect

 Taxes, Duties, Imposts and Excises, to pay the Debts and provide for the common Defence and

 general Welfare of the United States; but all Duties, Imposts and Excises shall be uniform

 throughout the United States …”). Congress’s power in this area is exhaustive. Brushaber v. Union

 Pac. R.R. Co., 240 U.S. 1, 12 (1916). Because the Constitution does not grant the President any

 authority to impose tariffs, such authority must come from an act of Congress—otherwise, the

 President’s actions are beyond what the law allows.

         Consistent with its constitutionally vested power, Congress has enacted many laws

 establishing tariffs and, under prescribed circumstances, authorizing the President to raise duties

 (commonly referred to as tariffs) in limited specific circumstances. See, e.g., Trade Act of 1974,

 19 U.S.C. § 2132(a)(1) (President may impose a “temporary import surcharge … in the form of

 duties” to “deal with large and serious United States balance-of-payments deficits”); Trade Act of

 1974, 19 U.S.C. § 2251 (President may “take all appropriate and feasible action” to protect

 domestic industries); Trade Expansion Act of 1962, 19 U.S.C. § 1862(b)–(c) (President may

 institute tariffs to address threats to national security).

         Here, the statute on which the President relies as the sole authority for imposing the tariffs

 at issue—IEEPA—says nothing about tariffs. Rather, IEEPA authorizes the President to “deal with

 any unusual and extraordinary threat … if the President declares a national emergency with respect

 to such threat.” 50 U.S.C. § 1701(a). Only in a declared national emergency does IEEPA permit

 the President, “by means of instructions, licenses, or otherwise,” to “investigate, regulate, or

 prohibit … any transactions in foreign exchange” and “regulate … any … importation or




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 exportation of … any property in which any foreign country or a national thereof has any interest

 by any person.” 50 U.S.C. § 1702(a)(1)(A), (B).

         IEEPA does not authorize the President to impose tariffs. Tariffs on products are not

 currency exchanges or banking transactions, so section 1702(a)(1)(A) should not apply. And

 subsection (a)(1)(B), which gives the President the power to “regulate,” should not authorize the

 challenged tariffs either because the regulation of imports is not synonymous with and does not

 include the power to impose tariffs on imports. Section 1702(a)(1)(B), which permits the President

 to “investigate, block[] during the pendency of an investigation, regulate, direct and compel,

 nullify, void, prevent or prohibit” transactions involving property of a foreign country or national,

 uses the language of embargoes and sanctions, which is what IEEPA has consistently been used

 for. Interpreting “regulate” as used in section 1702(a)(1)(B) to permit the President to impose

 tariffs would be flatly incongruous with the context in which it appears. See McDonnell v. United

 States, 579 U.S. 550, 569 (2016) (“Under the familiar interpretive canon noscitur a sociis, ‘a word

 is known by the company it keeps.’”) (citation omitted).

         It is also noteworthy that IEEPA, in § 1702(a)(1)(B), envisions the President “regulat[ing]”

 both imports and exports under its authority. Because the export clause of the Constitution, art. I,

 § 9, cl. 5, expressly prohibits imposing duties on exports, interpreting “regulate” to mean “impose

 a duty” would create a facial, and unnecessary, tension with the Constitution. The more natural

 reading of the statute is that Congress never intended it to authorize the President to impose tariffs.

 Almendarez-Torres v. United States, 523 U.S. 224, 237 (1998) (statutes “must be construed, if

 fairly possible, so as to avoid not only the conclusion that it is unconstitutional but also grave

 doubts upon that score”) (internal quotations omitted). Furthermore, even assuming—despite the

 constitutional-avoidance canon of statutory construction—that IEEPA does authorize some tariffs

 when there is an “unusual and extraordinary threat,” 50 U.S.C. § 1701 (emphasis added), President

 Trump’s unilateral imposition of his tariffs invoking IEEPA are aberrations that fly in the face of

 history and the legislative text.


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        Per the statute’s plain language, IEEPA is intended to deal with emergent and distinct

 threats. It is not a mechanism for influencing or implementing broad tax and economic policy. And

 again, the text of IEEPA does not mention tariffs at all. Instead, the powers given to the president

 under IEEPA strongly suggest quantitative restrictions. For instance, IEEPA specifically excludes

 from the President’s authority regulation of “personal communication[s],” “donations … to relieve

 human suffering,” the transfer of “informational materials,” and “transactions ordinarily incident

 to travel,” such as baggage. 50 U.S.C. § 1702(b)(1)–(4). None of these activities is logically

 amenable to a tariff, because they are more appropriately the subject of qualitative restrictions. See,

 e.g., Tom Campbell, Presidential Authority to Impose Tariffs, 83 LA. L. REV. 595, 606 (2023).

 Thus, while IEEPA may in theory authorize the President to regulate or prohibit the importation

 or exportation of certain transactions or property, it does not authorize the President to levy tariffs

 on all imports from all nations. See id. at 599–606.

        Because IEEPA provides no “clear” congressional authorization for President Trump’s

 tariffs, nor for the vast expansion of Presidential power to tax all goods entering the United States

 on a whim, the President’s actions are ultra vires.

                                           CONCLUSION
        Amici respectfully urge the Court to find that the tariffs imposed by the President are

 unlawful, and to grant the relief sought by Plaintiffs.

                               CERTIFICATE OF COMPLIANCE
        Counsel hereby certifies that the foregoing brief contains 3,298 words, in compliance with

 this Court’s word limitations.




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      RESPECTFULLY SUBMITTED this 20th day of May, 2025.


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                             APPENDIX: LIST OF AMICI CURIAE

 Lisa Jo Brown                                     Jesse Salomon
     Mayor of Spokane, Washington                      State Senator,
                                                       32nd Legislative District
 Manka Dhingra
   State Senate Deputy Majority Leader,            Society of Professional Engineering
   45th Legislative District                       Employees in Aerospace, IFPTE Local 2001

 Bob Ferguson                                      Derek Stanford
    Governor of Washington                            State Senator,
                                                      1st Legislative District
 Joe Fitzgibbon
     State Representative,                         Chris Stearns
     34th Legislative District                        State Representative,
                                                      47th Legislative District
 Noel Frame
    State Senator,                                 Teamsters 117
    36th Legislative District
                                                   Javier Valdez
 Greater Everett Chamber of Commerce                   State Senator,
                                                       46th Legislative District
 Bruce Harrell
    Mayor of Seattle, Washington                   Man Wang
                                                     Executive Director, Washington State
 International Association of Machinists and         China Relations Council
 Aerospace Workers District 751
                                                   Washington Economic Development
 Iron Workers Local Union 86                       Association

 Marko Liias                                       Susan Yirku
    State Senator,                                    Pacific County Economic Development
    21st Legislative District                         Council

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 Mike Pellicotti
    Treasurer of Washington

 June Robinson
    State Senator,
    38th Legislative District




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